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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,

 v.
                                                     Case No. 25-cv-381-ABJ
 RUSSELL VOUGHT, in his official capacity
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,
                        Defendants.


                     THIRD DECLARATION OF MATTHEW PFAFF

       I, Matthew Pfaff, declare as follows:

       1.      I am employed at the Consumer Financial Protection Bureau, where I currently

serve as the Chief of Staff for the Office of Consumer Response. I have been with the CFPB since

October 2013. The purpose of this third declaration is to provide the court with information about

the Reduction in Force (RIF) that began at the CFPB on April 17, 2025. The following is based on

my personal knowledge or information provided to me while performing my duties.

       2.      On April 17, CFPB employees received an email from the account

CFPB_OHC_General@cfpb.gov. The email provided a “Specific Notice of Reduction in Force”

and notified recipients that the CFPB “identified [their] position being eliminated and [their]

employment is subject to termination in accordance with reduction-in-force (RIF) procedures.” A

copy of the notice I received is attached as Exhibit A. My notice, and every notice of which I am

aware, provided a final date of employment of June 16, but stated that we would lose access to the

CFPB’s systems—and thus, our ability to work—on April 18 at 6 PM Eastern Time.
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       3.        No leader in Consumer Response was consulted about what is needed to operate

the office’s statutory duties or how the RIF would affect the complaint handling program, which

is currently projected to handle more than five million complaints and more than half a million

calls in 2025.

       4.        Even employees who already provided notice to the CFPB of their resignation from

the federal service, as well as those who accepted the deferred resignation program, received this

RIF notice.

       5.        In Consumer Response, nearly all staff have been informed that their positions are

being eliminated—including those that unambiguously align to statutory objectives and are

necessary for collecting, investigating, and responding to consumer complaints. Based on current

information, in all, Consumer Response has been reduced from approximately 135 employees to

eight employees. Each of those eight employees is a manager of managers who does not carry out

the day-to-day tasks that permit the Office to fulfill its mandatory statutory duties. Based on the

decade I have spent working in Consumer Response, my role as Chief of Staff, and the sheer

volume of complaints, it is my opinion that the Office will be incapable of performing its statutory

duties shortly after CFPB employees lose access to systems on April 18 at 6 PM.

       6.        The CFPB is required to establish a single, toll-free number. 12 U.S.C. §

5493(b)(3)(A). CFPB staff responsible for managing, overseeing, and auditing the vendor that

answers the telephone when a consumer calls—more than 40,000 calls per month—were notified

their positions are being eliminated. Completing this work requires considerable training and

knowledge. It cannot be performed by a single employee, let alone replacement employees with

no familiarity with the tasks involved.




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       7.      The CFPB is required to provide timely responses to consumers, including any

responses received from a regulated financial institution. 12 U.S.C. § 5534(a). CFPB staff

responsible for directing complaints to companies—tens of thousands of complaints every

month—were notified their positions are being eliminated. Completing this work requires

considerable training and knowledge. It cannot be performed by a single employee, let alone

replacement employees with no familiarity of the tasks involved.

       8.      Certain large banks, savings associations, and credit unions are required to provide

a timely response to consumer complaints to the CFPB. 12 U.S.C. § 5534(b). CFPB staff

responsible for responding to support tickets from companies and provisioning company access to

ensure they can meet their response obligations—more than 4,000 annually—were notified their

positions are being eliminated. Completing this work requires considerable training and

knowledge. It cannot be performed by a single employee, let alone replacement employees with

no familiarity of the tasks involved.

       9.      The CFPB is required to coordinate with the Federal Trade Commission and other

federal agencies to route complaints. 12 U.S.C. § 5493(b)(3)(A). CFPB staff responsible for

coordinating and routing complaints to other regulators—more than 100,000 complaints in 2024—

were notified their positions are being eliminated. Completing this work requires considerable

training and knowledge. It cannot be performed by a single employee, let alone replacement

employees with no familiarity of the tasks involved.

       10.     The CFPB is required to establish a database to facilitate the centralized collection

of complaints. 12 U.S.C. § 5493(b)(3)(A). CFPB staff responsible for maintaining this database—

which added more than 2.7 million complaints in 2024 alone—were notified their positions are

being eliminated. Completing this work requires considerable training and knowledge. It cannot




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be performed by a single employee, let alone replacement employees with no familiarity of the

tasks involved.

       11.     The CFPB is required to share consumer complaint information securely with

prudential regulators, the Federal Trade Commission, other Federal agencies, and State agencies.

12 U.S.C. § 5493(b)(3)(D). CFPB staff responsible for managing the technology that allows for

the daily sharing of complaint information—more than 11 million complaints since inception—

were notified their positions are being eliminated. Completing this work requires considerable

training and knowledge. It cannot be performed by a single employee, let alone replacement

employees with no familiarity of the tasks involved.

       12.     The CFPB is required to investigate complaints. 12 U.S.C. § 5511(c)(2). CFPB staff

responsible for complaint investigations—including the Escalated Case Management Team who

help individuals and families facing imminent foreclosures—were notified their positions are

being eliminated. Completing this work requires considerable training and knowledge. It cannot

be performed by a single employee, let alone replacement employees with no familiarity of the

tasks involved.

       13.     The CFPB is required to monitor complaints. 12 U.S.C. § 5493(b)(3)(A). CFPB

staff responsible for ensuring that companies are providing consumers complete, accurate, and

timely responses were notified their positions are being eliminated. Completing this work requires

considerable training and knowledge. It cannot be performed by a single employee, let alone

replacement employees with no familiarity of the tasks involved.

       14.     Consumer Response is required to coordinate with the Office of Servicemember

Affairs and the Private Student Loan Ombudsman, 12 U.S.C. §§ 5493(e) and 5535. CFPB staff

responsible for coordinating with these offices were notified their positions are being eliminated.




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And CFPB staff in the Office of Servicemembers Affairs were notified their positions are being

eliminated, too. Completing this work requires considerable training and knowledge. It cannot be

performed by a single employee, let alone replacement employees with no familiarity of the tasks

involved.

       15.     The CFPB Director is required to deliver a report to Congress about the complaints

it received in the prior year. 12 U.S.C. § 5493(b)(3)(C). Until this year, the deadline to deliver this

report to Congress, March 31, had never been missed. Consumer Response staff submitted a draft

of this report to the Chief Legal Officer two weeks before the deadline. But no action has been

taken on it and it still has not been delivered to Congress. CFPB staff responsible for writing this

report—summarizing the more than 3.1 million complaints received and the more than $90 million

dollars of company-reported relief in 2024—were notified their positions are being eliminated.

Completing this work requires considerable training and knowledge. It cannot be performed by a

single employee, let alone replacement employees with no familiarity of the tasks involved.

       16.     The CFPB is required to establish “reasonable procedures” for complaint handling.

12 U.S.C. § 5534(a). CFPB staff who write those procedures and interface with various oversight

bodies, including the Office of Inspector General, were notified their positions are being

eliminated.

       17.     The CFPB is required to produce certain records, including complaint records,

pursuant to requests made under The Freedom of Information Act and The Privacy Act. 5 U.S.C.

§ 552; 5 U.S.C. §552a. CFPB staff who fulfill these requests were notified their positions are being

eliminated.

       18.     In 2024, Consumer Response handled more than three million complaints. Last

month, in March 2025, Consumer Response handled more than 475,000 complaints alone. The




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indiscriminate termination of employees undermines the charge that Congress directed the CFPB

to perform: listening and responding to the American people. Without these federal employees, the

voices of millions of everyday Americans who run into an issue—be it buying a home, getting

incorrect information corrected on their credit report, trying to recover funds from a fraudulent

money transfer, and many others—will go unheard.

                                               ***

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true
and correct.

       Executed in Washington, DC this 17th day of April.




                                                     Matthew Pfaff




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                         Exhibit A




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                                                                               Matthew Pfaff <                            >



Specific Notice of Reduction in Force
CFPB_OHC_General <CFPB_OHC_General@cfpb.gov>                                                    Thu, Apr 17, 2025 at 2:41 PM
Reply-To: CFPB_OHC_General <CFPB_OHC_General@cfpb.gov>
To: "Pfaff, Matthew (CFPB)" <              >,


                                                            CUI


 The Consumer Financial Protection Bureau identified your position being eliminated and your employment is subject to
 termination in accordance with reduction-in-force (RIF) procedures. Please see the attached notice of separation with
 associated documents and resources. Additional information regarding this action is included in the attached
 memorandum.

 Please be advised that you will retain access to work systems, including email and internal platforms until 6:00 PM
 Eastern Time, on 4/18/2025. After that time system access will be discontinued, and you will be placed in an
 administrative leave status through your official separation date as outlined above.

 It is recommended that you download a copy of your eOPF and performance records and send only personnel related
 documents to your personal email address. Employees are strictly prohibited from sending any Bureau work related
 documents, emails, information or data to their personal email address. Employees are only authorized to email
 personal records outside of the Bureau. Employees who send Bureau work related documents externally will be
 subject to disciplinary action up to and including removal from federal service.

 Also, please ensure that your personal information is updated in HRConnect including your personal email address,
 personal phone number and home address. This information will be important as we continue to communicate with your
 during the RIF period.

 OHC would appreciate your acknowledgement of this communication by replying to this email. Please direct any
 questions to CFPB_OHC_General@cfpb.gov.

 Thank you,

 Office of Human Capital


  8 attachments
     PFAFF,MATTHEW,CFPB_Specific_Notice_of_RIF.pdf
     152K
     MSPB_Appeal_Information.pdf
     19K
     OPM_Retention_Regulations.pdf
     633K
     Severance_Pay_Estimate.pdf
     269K
     Unemployment_Insurance_Information.pdf
     201K
     State_Workforce_Programs.pdf
     194K
     Authorization_for_Release_of_Employment_Information.pdf
     77K
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MEMORANDUM FOR:               MATTHEW PFAFF

FROM:                         Russell T. Vought
                              Acting Director of Consumer Financial Protection Bureau

DATE:                         April 17, 2025

SUBJECT:                      Specific Notice of Reduction in Force

I regret to inform you that you are affected by a reduction in force (RIF) action. This RIF action
is necessary to restructure the Bureau’s operations to better reflect the agency’s priorities and
mission.

This is your specific notice of RIF. In accordance with RIF procedures specified in Title 5, Code
of Federal Regulations, Part 351, you are being released from your competitive level because
your position is being eliminated. Consequently, you will be separated from Federal service
effective June 16, 2025. In the event you are qualified and have assignment rights to a position
that becomes available during the notice period, you will be informed via a specific, subsequent
RIF notice. Should the circumstances of the RIF otherwise change, this notice may be
withdrawn.

Please be advised that you will retain access to work systems, including email and internal
platforms until 6:00 PM Eastern Time, on April 18, 2025. After that time system access will be
discontinued, and you will be placed in an administrative leave status through your official
separation date as outlined above.

It is recommended that you download a copy of your eOPF and performance records and send
only personnel related documents to your personal email address. Employees are strictly
prohibited from sending any Bureau work related documents, emails, information or data to
their personal email address. Employees are only authorized to email personal records
outside of the Bureau. Employees who send Bureau work related documents externally will be
subject to disciplinary action up to and including removal from federal service.

Also, please ensure that your personal information is updated in HRConnect including your
personal email address, personal phone number and home address. This information will be
important as we continue to communicate with your during the RIF period.

Retention Standing

This action is being taken under the civil service RIF regulations and procedures. CFPB retains
information used in connection with this action, including retention registers which list
employees in retention standing order by civil service tenure group and subgroup, veterans’
preference, performance ratings, and length of Federal service.

Competitive Area: OFFICE OF CONSUMER RESPONSE
Type of Service: Competitive-Career
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Work Schedule: Full-Time
Position: Staff Director, CN-72, Series 0301
Competitive Level: A010
Tenure Group and Subgroup: Tenure Group 1
Veterans’ Preference: None
Last Three Performance Ratings:

        Period Ending 9/30/2024: Rated Level 3. Fully Successful or equivalent. Pass level under
pass/fail program
        Period Ending 9/30/2023: Rated Level 3. Fully Successful or equivalent. Pass level under
pass/fail program
        Period Ending 9/30/2022: Rated Level 3. Fully Successful or equivalent. Pass level under
pass/fail program

Additional Years of Credit Based on Performance Ratings: 20

Adjusted RIF Service Computation Date (SCD): 10/6/1993

NOTE: The adjusted RIF SCD includes all creditable military and civilian service and is
adjusted with additional credit (up to a maximum of 20 years) for the performance ratings.

Please contact the Bureau of Fiscal Service (BFS) at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov immediately if you believe any of the above information is
incorrect. The Bureau is committed to correcting any incorrect employee information.

You may be eligible for a severance pay. For eligibility, please visit OPM's Severance Pay Fact
Sheet.

RIF Package

Each employee impacted by RIF has access to documents that outline applicable benefits for
which you may be eligible or entitled as appropriate. To access these documents, you may make
an appointment with the Bureau of Fiscal Service (BFS) to obtain paper copies of the documents.
You may make an appointment by contacting BFS at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov. In addition, the websites to certain relevant external benefits
provided by other entities are found immediately below.

For training benefits under the Workforce Improvement Act of 1998, please visit
www.careeronestop.org.

For unemployment compensation benefits, please refer to the Department of Labor website at
www.dol.gov.

For general transition assistance information, please refer to the OPM Employee’s Guide to
Career Transition or contact OHC at CFPB_OHC_General@cfpb.gov.
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Appeal and Grievance Rights

U.S. Merit Systems Protection Board (MSPB)
If you believe your retention rights have not been applied correctly or have been violated, you
may appeal this action to the MSPB. Your appeal must be in writing and may be filed any time
after the effective date of the action being appealed until no later than 30 calendar days after the
effective date. Failure to file an appeal within the time limit may result in dismissal of the appeal
as untimely filed. More information on filing appeals is included in your RIF package. You may
also access the MSPB website at www.mspb.gov for additional and further detailed information
on the appeal process.

Equal Employment Opportunity (EEO)

If you believe this termination is being taken in whole or in part because of discrimination based
on race, color, religion, sex, national origin, disability, age, genetic information, pregnancy
and/or reprisal for prior EEO activity, you may file a discrimination complaint with the Agency’s
Office of Civil Rights. To initiate the formal discrimination complaint process, you must first
contact an EEO Counselor within forty-five (45) calendar days of the employment action or
event you believe is discriminatory, harassing, or retaliatory. You may contact the Office of Civil
Rights at CFPB_EEO@cfpb.gov or (202) 435-9EEO, 1-855-233-0362 or 202-435-9742 (TTY).

Office of Special Counsel

If you believe this action is being taken in retaliation for your making protected whistleblowing
disclosures, you may also seek corrective action from the U.S. Office of Special Counsel (OSC).
If you do so, your appeal may be limited to whether the Agency took one or more covered
personnel actions against you in retaliation for making protected whistleblowing disclosures, and
you will not be able to challenge the decision on other bases in that action. To seek corrective
action from the OSC, you may submit your complaint online. More information on or about
filing a complaint with the OSC may be found at https://osc.gov/Pages/File-Complaint.aspx. As
an alternative, you may communicate in writing to the following address:

       Complaints Examining Unit
       U.S. Office of Special Counsel
       1730 M Street, N.W., Suite 218
       Washington, DC 20036-4505

Conclusion

This action is being taken in accordance with the applicable civil service RIF regulations.
Included in your RIF package is a copy of the Office of Personnel Management (OPM) retention
regulations, 5 C.F.R. Part 351. Further and detailed information about the RIF regulations may
also be accessed on OPM website, Reductions in Force. You may make an appointment to
review and obtain a copy of the RIF regulations and/or records pertaining to you by contacting
the Bureau of Fiscal Service.
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The Employee Assistance Program (EAP) is available free to you and in most cases your
immediate family. EAP counselors are available 24 hours a day, 365 days per year at 1-800-222-
0364 (TTY 1-888-262-7848) or http://www.foh4you.com/.

Because you are being separated through a RIF action, you are eligible for career
transition and placement assistance. Specifically, you are eligible for the Bureau
Reemployment Priority List (RPL), Career Transition Assistance Program (CTAP), and
Interagency Career Transition Assistance Program (ICTAP). Your RIF package includes
further information on these programs.

Please be advised that an early resignation may affect your eligibility for placement
assistance and your appeal rights. It may also impact your ability to qualify for
unemployment compensation and training benefits provided under WIA. You are
encouraged to contact your State’s Department of Labor and Employment for any
questions regarding unemployment compensation. You are also encouraged to contact the
Bureau of Fiscal Service (BFS) at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov to determine how an early resignation may affect your
benefits.

This RIF action does not reflect directly on your service, performance, or conduct. It is being
taken solely for the reasons stated above. Leadership at the Bureau of Consumer Financial
Protection are appreciative of your service.

Attachments (7)
1. MSPB Appeal Information
2. OPM Retention Regulations
3. Severance Pay Estimate
4. Unemployment Insurance
5. State Workforce Programs
6. Authorization for Release of Employment Information
7. CTAP, ICTAP and Reemployment Priority List (RPL) Program Information
